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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA


NATIONAL CANCER ASSISTANCE                )
FOUNDATION, INC., a Delaware Corporation, )
                                          )
      Plaintiff,                          )
                                          )
v.                                        ) Case No. CIV-17-777-R
                                          )
NATIONAL COMMMUNITY                       )
ADVANCEMENT, INC.,                        )
a Delaware Corporation,                   )
                                          )
and                                       )
                                          )
COURTESY CALL, INC.,                      )
a Nevada Corporation,                     )
                                          )
      Defendants.                         )
 
                                    JUDGMENT

      Consistent with the Court’s order entered today, judgment is hereby entered in

favor of Defendants.

      Entered this 23rd day of May 2018.
